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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

The Boiling Point, Inc.
                                  Plaintiff,
v.                                                      Case No.: 1:18−cv−03632
                                                        Honorable Ruben Castillo
Nan Luo, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 1, 2018:


        MINUTE entry before the Honorable Ruben Castillo: The Court has learned that
the parties have reached a settlement. The Court hereby dismisses this lawsuit without
prejudice subject to a dismissal with prejudice upon the filing of a stipulation or
appropriate settlement documents. The motion for TRO [6] is denied as moot. The status
hearing set for 8/1/2018 is stricken.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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